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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                    HOT SPRINGS DIVISION

PRESTON R. CURNETT                                                                           PLAINTIFF

v.                                           Civil No. 6:20-cv-06003

SHAQUILLE BROWN (Sergeant
Correctional Officer, Ouachita River
Correctional Facility, ADC); LT. DELANEY
(Sergeant, Correctional Officer, Ouachita
River Correctional Facility, ADC);
ARKANSAS DEPARTMENT OF
CORRECTION                                                                                DEFENDANTS

                                                    ORDER


        Before the Court is the Report and Recommendation filed March 12, 2020, by the Honorable Mark

E. Ford, United States Magistrate Judge for the Western District of Arkansas. (ECF No. 10.) Judge Ford

recommends the case be dismissed without prejudice.

        No party has filed objections to the Report and Recommendation, and the time to object has passed.

See 28 U.S.C. § 636(b)(1). Upon review, the Court adopts the Report and Recommendation in toto.

        Accordingly, Plaintiff’s complaint should be and hereby is DISMISSED WITHOUT PREJUDICE.

The dismissal of this action constitutes a “strike” under 28 U.S.C. § 1915(g), and the Clerk is directed to

place a § 1915(g) strike flag on the case.

          IT IS SO ORDERED, this 21st day of April 2020.




                                                    /s/Robert T. Dawson
                                                    ROBERT T. DAWSON
                                                    SENIOR U.S. DISTRICT JUDGE
